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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:14CR00211-16 DPM


GABRIEL ELLINGTON

                                      ORDER

      For the reasons stated at the conclusion of the November 26, 2014

Revocation Hearing, the Government’s Motion to Revoke Pretrial Release (doc.

235) is DENIED.

      Defendant’s Conditions of Release (doc. 90) are MODIFIED to require him

to participate in inpatient drug treatment, to be followed with chemical-free living

until the final disposition of all charges in this case. Defendant shall also

participate in mental health counseling.

      Defendant will remain in custody until inpatient bed space is available, at

which time his parents shall transport him directly to the drug treatment facility.

      IT IS SO ORDERED this 26th day of November, 2014.



                                       ___________________________________
                                       UNITED STATES MAGISTRATE JUDGE
